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Exhibit R
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Paragon Finance plc v D B Thakerar & Co

a
(a firm)
Paragon Finance plc and another v Thimbleby
& Co (a firm)
b
COURT OF APPEAL, CIVIL DIVISION
MILLETT, PILL AND MAY LJJ
6,7 MAY, 21 JULY 1998
Pleading — Amendment — Leave to amend after expiry of limitation period — Plaintiffs
claiming damages for negligence ~ Plaintiffs seeking leave to amend statement of claim
to allege fraud — Whether amendment constituting new claim — Whether amendment
involving same facts as original claim — Whether leave to amend should be granted —
RSC Ord 20, r 5.
d

In two separate cases, the defendant solicitors acted for both the plaintiff
mortgage lenders and the borrowers in relation to the purchase and mortgage of
a number of flats. ‘The solicitors were retained on terms which required them to
advise the plaintiffs of, inter alia, a sub-sale. In fact, the defendants were aware
that the borrowers were sub-purchasers who had applied for mortgage advances
in amounts, and were purporting to buy at prices, which were both significantly
higher than the corresponding prices payable by the sub-vendor to the vendor,
but in every case they failed to inform the plaintiffs of those facts and reported
that there were no matters which they were required to bring to the plaintiffs’
attention. None of the borrowers went into occupation of the flats or made any
payments under their mortgages, and on realising their security after recovering f
possession of the flats, the plaintiffs suffered a substantial loss, partly due to the
collapse of the residential property market. Thereafter the plaintiffs commenced
proceedings against the defendants, alleging breach of contract, negligence and
breach of fiduciary duty. Subsequently, after more than six years had elapsed
since the last relevant transaction and, prima facie, any applicable limitation
period had expired, the plaintiffs sought to amend their pleadings in order to 9
allege fraud, conspiracy to defraud, fraudulent breach of trust and intentional
breach of fiduciary duty. The plaintiffs applied for leave to make the
amendments under RSC Ord 20, r 5(2(5)*, which provided that leave could be
given if the new cause of action arose out of the same facts, or substantially the
same facts, as a cause of action in respect of which reliefhad already been claimed fA
in the action and if the court thought it just to grant leave to make the
amendments. The application was refused in the first case but granted in the
second. The plaintiffs in the first case and the defendant in the second appealed.

Held - For the purposes of Ord 20, r 5(2)(5), an amendment which sought to
make a new allegation of intentional wrongdoing where previously no
intentional wrongdoing had been alleged constituted the introduction of a new
cause of action, since intentional and unintentional wrongdoing gave mse to
distinct causes of action. It followed that the amendment sought to be made by

a__ Rule 5, so far as material, is set out at p 419 d to f
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the plaintiffs introduced a new cause of action. However, a claim based on

@ allegations of fraud and dishonesty did not involve substantially the same facts as
a claim based on allegations of negligence, and therefore leave to amend should
be refused. Accordingly, the plaintiffs’ appeal in the first case would be dismissed
and the defendant's appeal in the second case would be allowed (see p 406 4 to ¢,
p4i8h j,p 419 ab hand p 420 gh, post).

Dictum of Lord Denning MR in Letang v Cooper [1964] 2 All ER 929 at 932
applied.

Notes

For amendment of pleadings after expiry of limitation period, see 36 Halsbury’s

Laws (4th edn) para 69, and for cases on the subject, see 37(1) Digest (Reissue)
C 264-265, 1732-1737.

Cases referred to in judgments

Balfour Beatty Construction Ltd v Parsons Brown e Newton Ltd (1990) 7 Const LJ 205,
CA.

d Barlow Clowes International Ltd v Eurotrust International Ltd (31 March 1998,

unreported), Manx HC; affg (1998/9) 2 OFLR 42.

Beckford v Wade (1805) 17 Ves 87, 34 ER 34, PC.

Bristol and West Building Society v Mothew (t/a Stapley & Co) [1996] 4 All ER 698,
[1998] Ch 1, [1997] 2 WLR 436, CA.

Burdick v Garrick (1870) LR 5 Ch App 233.

© Chatsworth Investments Ltd v Cussins (Contractors) Ltd [1969] 1 AILER 143, [1969] 1
WLR 1, CA.

Clarkson v Davies [1923] AC 100, PC.

Competitive Insurance Co Ltd v Davies Investments Ltd [1975] 3 All ER 254, [1975] 3
WLR 1240.
f Cooke v Gill (1873) LR 8 CP 107.
Edgington v Fitzmaurice (1885) 29 Ch D 459, [1881-5] Ali ER Rep 856, CA.
Hovenden v Lord Annesley (1806) 2 Sch & Lef 607.
How v Earl Winterton [1896] 2 Ch 626, CA.
Knox v Gye (1872) LR 5 HL 656.
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J McCormick v Grogan (1869) LR 4 HL 82.
Nelson v Rye [1996] 2 All ER 186, [1996] 1 WLR 1378.
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Piwinski v Corporate Trustees of the Diocese of Armidale (1977) 1 NSWLR 266, NSW
SC.

h Pontin v Wood [1962] 1 All ER 294, [1962] 1 QB 594, [1962] 2 WLR 258, CA.

Queensland Mines Ltd v Hudson (1976) ACLC 40-266, NSW SC; affd on other
grounds (1978) 18 ALR 1, PC.

Richardson, Re, Pole v Pattenden [1920] 1 Ch 423, CA.
Rochefoucald v Boustead [1897] 1 Ch 196, CA.
j Selangor United Rubber Estates Ltd v Cradock (No 3) [1968] 2 All ER 1073, [1968] 1
WLR 1555.

Sharpe, Re, Re Bennett, Masonic and General Life Assurance Co v Sharpe [1892] 1 Ch
154, CA.
Shephard v Cartwright [1954] 3 All ER 649, [1955] AC 431, [1954] 3 WLR 967, HL,

rvsg sub nom Re Shephard, Shephard v Cartwright [1953] 2 All ER 608, [1953] Ch
728, [1953] 3 WLR 378, CA.
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Smith New Court Securities Ltd v Scrimgeour Vickers (Asset Management) Ltd [1996] 4 a
All ER 769, [1997] AC 254, [1996] 3 WLR 1051, HL.

Soar v Ashwell [1893] 2 QB 390, [1891-4] All ER Rep 991, CA.
South Australia Asset Management Corp v York Montague Ltd, United Bank of Kuwait

plc v Prudential Property Services Ltd, Nykredit Mortgage Bank plc v Edward Erdman
Group Ltd [1996] 3 All ER 365, [1997] AC 191, [1996] 3 WLR 87, HL.

Steamship Mutual Underwriting Association Ltd v Trollope & Colls Ltd (1986) 6 b
ConLR 11, CA.

Sterman v E W e J W Moore Ltd (a firm) [1970] 1 ALLER 581, [1970] 1 QB 596, [1970]
2 WLR 386, CA.

Taylor v Davies [1920] AC 636, PC.

Tito v Waddell (No 2), Tito v A-G [1977] 3 Al ER 129, [1977] Ch 106, [1977]2 WLR
496, DC.

Weldon v Neal (1887) 19 QBD 394, CA.

Welsh Development Agency v Redpath Dorman Long Ltd [1994] 4 AIL ER 10, [1994] 1
WLR 1409, CA.

Cases also cited or referred to in skeleton arguments d
Bradford and Bingley Building Society v Boyce Evans ex Sheppard (22 August 1997,
unreported), Ch D; rvsd in part [1998] CA Transcript 1238.

Bristol and West Building Society v May May & Merrimans (a firm) [1996] 2 AIL ER
801.

Chetham v Hoare (1870) LR 9 Eq 571. e
Fannon v Backhouse (1987) Times, 22 August, [1987] CA-Transcript 829.

Frisby v Theodore Goddard ex Co (1984) Times, 7 March, [1984] CA Transcript 84.
Lawrance v Lord Norreys (1890) 15 App Cas 210, [1886-90] All ER Rep 858, HL.
Lloyds Bank ple v Rogers (1997) Times, 24 March, [1996] CA Transcript 1904.

Target Holdings Ltd v Redferns (a firm) [1995] 3 All ER 785, [1996] AC 421, HL.

Thorpe v Chief Constable of the Greater Manchester Police [1989] 2 All ER 827, [1989] f
1 WLR 665, CA.

Appeals

Paragon Finance plc v D B Thakerar & Co (a firm)
The plaintiffs, Paragon Finance plc, appealed from the order of Chadwick J on
4 June 1997 whereby he dismissed their application to amend their pleadings in
their action against the defendants, D B Thakerar & Co, a firm of solicitors, and
for further discovery. The facts are set out in the judgment of Millett Lj.

Paragon Finance ple and anor v Thimbleby & Co (a firm)
The defendants, Thimbleby & Co, a firm of solicitors, appealed from the order of
Timothy Lloyd J on 25 March 1997 whereby he allowed an application by the
plaintiffs, Paragon Finance ple and the Norwich and Peterborough Building
Society, for leave to amend their pleadings in their action against the defendant
and for further discovery. The facts are set out in the judgment of Millett LJ. J

Christopher R Parker (instructed by Hamlin Slowe) for the plaintiffs.
Edward Bannister QC and Thomas Dumont (instructed by Browne Jacobson,
Nottingham) for the defendants.

Cur adv vult
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CA Paragon Finance v D B Thakerar & Co (Millett LJ) 403

 

a 21 July 1998. The following judgments were delivered.

MILLETT LJ. These two conjoined appeals arise out of what is alleged to have
been a series of mortgage frauds in relation to the purchase of flats at Vogan’s Mill
in Docklands in the latter part of 1990. The plaintiffs are the mortgage lenders.
‘The defendants are the solicitors who acted for the plaintiffs as well as for the
borrowers. In one action the defendants are Thimbleby & Co; in the other
Thakerar & Co. Thimbleby & Co acted in the purchase and mortgage of seven
flats: Thakerar & Co in the purchase and mortgage of five flats. None of the
borrowers went into occupation of the property or made any payments under
their mortgages. Each of the borrowers made immediate default, following
which the plaintiffs recovered possession and eventually realised their security by
resale at a substantial loss.

It was an express term of the defendants’ retainer in every case that they should
advise the plaintiffs: (i) of any matters likely to affect the value of the property
being purchased of which the plaintiffs should be aware; (ii) of any reduction in
the purchase price for whatever reason or of a sub-sale of which the defendants
became aware; and (iii) of any information suggesting that the property was not
being purchased as the borrower’s principal residence for the sole continuing
occupation of the borrower and the borrower's family.

The vendor of each of the flats was Rosehaugh Co-Partnership Developments
Ltd (Rosehaugh). The defendants’ client, however, (ifhe or she existed at all) was
not purchasing the property directly from Rosehaugh but from an intermediate
third party (the sub-vendor) by way of sub-purchase at a price far in excess of the
amount payable to Rosehaugh. Moreover, the amount of the mortgage advance
which the defendants’ client was obtaining from the plaintiffs was also
substantially in excess of the price payable by the sub-vendor to Rosehaugh.

In each of the transactions in which Thimbleby & Co acted, the sub-vendor
was a Mr Shefket or a company alleged to belong to or to be controlled by him;
in each of the transactions in which Thakerar & Co acted, the sub-vendor was
Belgravia Estates Ltd. The defendants were aware that their ostensible clients
were sub-purchasers who had applied for mortgage advances in amounts and
were purporting to buy at prices which were both significantly higher than the
corresponding prices payable by the sub-vendor to Rosehaugh; yet in every case
they failed to inform the plaintiffs of these facts. Instead, they reported that there
were no matters which they were required to bring to the plaintiffs’ attention.

In 1994 the plaintiffs brought two actions, one against Thimbleby & Co and the
other against Thakerar & Co, alleging breach of contract, breach of a duty of care
and breach of fiduciary duty. They alleged negligence but not dishonesty or
intentional wrongdoing. Part at least of the loss which the plaintiffs had
sustained, however, was the result of the collapse of the residential property
market at the end of 1990. Following the decisions of the House of Lords in South

Australia Asset Management Corp v York Montague Ltd, United Bank of Kuwait ple v
Prudential Property Services Ltd, Nykredit Mortgage Bank ple v Edward Erdman Group
; Ltd [1996] 3 All ER 365, [1997] AC 191 and Smith New Court Securities Ltd v
Scrimgeour Vickers (Asset Management) Ltd [1996] 4 All ER 769, [1997] AC 254 it
became apparent that the plaintiffs could not recover this part of their loss unless
they established fraud. Accordingly they applied for leave to amend their
pleadings in order to allege fraud, conspiracy to defraud, fraudulent breach of
trust and intentional breach of fiduciary duty and sought orders for further
discovery.
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Unfortunately for the plaintiffs, by this time more than six years had elapsed
since the last of the relevant transactions, and prima facie any applicable
limitation period had expired. The plaintiffs’ applications in the Thimbleby case
came before Timothy Lloyd J on 25 March 1997, when they were granted.
Similar applications in the Thakerar case came before Chadwick J on 4 June 1997,
when they were refused. Thimbleby & Co appeal from the order of Timothy
Lloyd J and the plaintiffs appeal from the order of Chadwick J.

PLEADING A NEW CAUSE OF ACTION AFTER EXPIRY OF THE LIMITATION PERIOD

For the purposes of the Limitation Act 1980 any new claim made in the course
of existing proceedings which involves the addition or substitution of a new cause
of action is treated as a separate action commenced on the same date as the
original proceedings: s 35(1) and (2) of the 1980 Act. Where the pleadings are
amended to add such a claim after an applicable limitation period has expired, the
effect is to deprive the defendant of an accrued limitation defence. By the
combined effect of s 35(3) to (5) of the 1980 Act and RSC Ord 20, x 5(2) and (5),
however, the court may not allow such an amendment after the expiration of any
relevant limitation period unless the new cause of action arises out of the same
facts or substantially the same facts as a cause of action in respect of which relief
has already been claimed in the action.

The proper approach to an application for leave to amend in such
circumstances was considered by this court in Welsh Development Agency V Redpath
Dorman Long Ltd [1994] 4 All ER 10, [1994] 1 WLR 1409. The court observed that
a new claim is not made by amendment until the pleading is amended. It follows
that the relevant date for the purpose of calculating the limitation period is the
date at which the amendment is actually made, which by definition must be no
earlier than the date at which leave to make the amendment is granted. The
court also held that leave to amend by adding a new cause of action should not
be given unless the plaintiff can show that the defendant does not have a
reasonably arguable case on limitation which will be prejudiced by the new claim
or that the new cause of action arises out of the same or substantially the same
facts as a cause of action in respect of which he has already claimed relief. By this
means the injustice to the defendant of depriving him of an arguable limitation
defence is avoided without denying the plaintiff the right to bring a fresh action
to which, ifhe is correct, there is no limitation defence.

THE [SSUES

In each case the judge had to decide (i) whether any proposed amendment
introduced a new cause of action, (ii) if so whether any applicable limitation
period had expired by the date of the hearing before him, and (iii) if so whether
the new cause of action arose out of the same or substantially the same facts asa
cause of action already pleaded. The pleadings and proposed amendments in the
two cases are not identical, but they follow the same general lines and neither
party has suggested that there is any material difference berween them. For
convenience we have been taken through the pleadings in the Thimbleby case
only, and it has been tacitly assumed that our decision in respect of the particular
amendments for which leave was sought in that case will apply with any
necessary changes to the other. Furthermore, in each action the pleadings are
repeated in more or less identical terms for each transaction.

Accordingly, I shall consider only the proposed amendments in relation to the
first of the transactions pleaded in the Thimbleby case. 1 shall deal with them

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under five headings. (1) Non-contentious amendments which do not introduce
a new cause of action. (2) Amendments which the plaintiffs contend do not
introduce a new cause of action and are not objectionable on other grounds.
(3) Amendments which introduce a new cause of action but in respect of which
the plaintiffs contend there is no applicable limitation period. (4) Amendments
which introduce a new cause of action in respect of which the primary limitation
period has expired but the plaintiffs contend that an extended limitation period is
available. (5) Amendments which introduce a new cause of action after the
expiry of the limitation period but which the plaintiffs contend arises out of the
same or substantially the same facts as a cause of action already pleaded.

(1) NON-CONTENTIOUS AMENDMENTS
c _ Leave is sought for a large number of minor amendments which clearly do not
introduce a new cause of action. The defendants do not object to them. Leave
to make them should be granted. They were identified in the course of
argument. It is not necessary to refer to them further in this judgment.

(2) AMENDMENTS WHICH THE PLAINTIFFS CONTEND DO NOT INTRODUCE A NEW
CO CAUSE OF ACTION AND ARE NOT OBJECTIONABLE ON OTHER GROUNDS

The classic definition of a cause of action was given by Brett J in Cooke v Gill
(1873) LR 8 CP 107 at 116: “Cause of action” has been held from the earliest time
to mean every fact which is material to be proved to entitle the plaintiff to
succeed,—every fact which the defendant would have a right to traverse. (My
emphasis.) In the Thakerar case Chadwick J cited the more recent definition
offered by Diplock LJ in Letang v Cooper {1964} 2 AIL ER 929 at 934, [1965] 1 QB 232
at 242-243, and approved in Steamship Mutual Underwriting Association Ltd v
Trollope é Colls Lid (1986) 6 ConLR 11 at 30: “A cause of action is simply a factual
situation the existence of which entitles one person to obtain from the court a
remedy against another person.’ | do not think that Diplock LJ was intending a

f different definition from that of Brett J. However it is formulated, only those
facts which are material to be proved are to be taken into account. The pleading
of unnecessary allegations or the addition of further instances or better
particulars do not amount to a distinct cause of action. The selection of the
material facts to define the cause of action must be made at the highest level of
abstraction.

The question in Letang v Cooper was whether a claim for damages for personal
injuries sustained as a result of the defendant's negligence was a claim for
‘damages for negligence’ within the meaning of s 2(1) of the Limitation Act 1939
as amended by s2 of the Law Reform (Limitation of Actions) Act 1954 even
though the claim was expressly pleaded in trespass. Diplock LJ ((1964] 2 Ali ER

h 929 at 936, [1965] 1 QB 232 at 245) held that where actual damage in the form of
personal injuries has been sustained by the plaintiff ‘every factual situation which
falls within the description “trespass to the person” is, where the trespass is
unintentional, equally aptly described as negligence’ (my emphasis). His
reasoning was: (i) trespass to the person may be intentional or unintentional;

; (ii) intent is therefore not one of the facts which is material to be proved to
constitute the cause of action; (iii) accordingly unintentional trespass may be
equally aptly described as negligence.

But it is important to observe what Diplock L] was not saying. He was not
saying that trespass and negligence are the same cause of action, or that
intentional trespass could equally aptly be described as negligence, or that a cause
of action in which it was material to prove intent could equally well be described

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by the name of a cause of action in which it was not. This would make any
distinction between different causes of action illusory and destroy the practical
utility of the concept.

In the same case Lord Denning MR, with whom Danckwerts LJ agreed, said
({1964] 2 All ER 929 at 932, [1965] 1 QB 232 at 239):

“The truth is that the distinction between trespass and case is obsolete. We
have a different sub-division altogether. Instead of dividing actions for
personal injuries into trespass (direct damage) or case (consequential
damage), we divide the causes of action now according as the defendant did
the injury intentionally or unintentionally.” (Lord Denning MR’s emphasis.)

In my judgment, it is incontrovertible that an amendment to make a new
allegation of intentional wrongdoing by pleading fraud, conspiracy to defraud,
fraudulent breach of trust or intentional breach of fiduciary duty where
previously no intentional wrongdoing has been alleged constitutes the
introduction of a new cause of action.

This is sufficient to dispose of paras 10C and 15A(1) of the statement of claim
by which the plaintiffs seek to introduce an allegation of fraud. The plaintiffs
submit, however, that paras 10A and 15A(2) do not plead new causes of action,
while they accept that para 10(B) makes a new allegation of dishonesty.

Paragraphs 10A and 15A(2) allege intentional breach of fiduciary duty. Breach
of fiduciary duty was already pleaded, but in terms which did not involve any
conscious impropriety. The plaintiffs submit that the mere addition of an
allegation of intent does not amount to a new cause of action. In my judgment
this is contrary to the authorities already cited, which show that intentional and
unintentional wrongdoing give rise to distinct causes of action. Moreover the
existing pleading disclosed no cause of action for the reasons given in Bristol and
West Building Society v Mothew (t/a Stapley & Co) [1996] 4 All BR 698, [1998] Ch 1.

A sufficiently pleaded allegation of breach of fiduciary duty is made for the first
time by the amendment, and this to my mind unquestionably amounts to the
introduction of a new cause of action.

Paragraph 10B is very curious. It alleges that the submission of the report on
title by the defendants constituted an implied representation that they were
acting honestly in the performance of their retainer. There isno point in pleading
a representation unless it is intended to plead that it was untrue. The allegation
of dishonesty is contained in para 16A. The plaintiffs submit that even if para 16/
is disallowed, para 10B should remain as no more than a further instance of
breach of contract. But this is far from clear. Dishonesty is not a necessary
averment in a claim for breach of contract. As we have seen, a cause of action is
defined by its factual ingredients, not by the name ascribed to it. As Juliet
observed of the rose, its essential character is not dependent on the name by
which it is called.

If para 10B makes a relevant averment at all, therefore, it must be to support a
claim in deceit. The defendants submit that leave should be refused because the
paragraph is a nonsense. I agree with this, but | think there is a stronger ground

" for refusing leave. If the plaintiffs are allowed to plead dishonesty, the paragraph
is unnecessary; if they are not it is irrelevant: and if the matter is in doubt it is
embarrassing.

By para 14(2) the plaintiffs seek to add an allegation that the defendants knew
and failed to inform the plaintiffs that the purchase price was not that stated in the
offer of loan but the amount of the mortgage advance less expenses. By para 15
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CA Paragon Finance v D B Thakerar & Co (Millett LJ) 407

 

they seek to add an allegation that the defendants failed to inform the plaintiffs of
a host of other features of the transaction of which they were aware and which
were, to say the least, unusual. These cumulatively tend to show that the
sub-purchase was fictitious and that the defendants were aware of and yet failed
to disclose to the plaintiffs what must have been a conspiracy on the part of their
clients and the sub-vendor to defraud them. The plaintiffs submit that even if
allegations of dishonesty and intentional wrongdoing are disallowed, these
should be permitted as further instances of breach of contract and negligence.
‘The more obvious the existence of a fraud on the part of their clients, they say,
the easier it will be to establish that the defendants were negligent in failing to
disclose what they knew to the plaintiffs. The defendants submit that to allow
these particulars to remain would be to allow a pleading of fraud “by the back
door’.

I accept the plaintiffs’ submissions. It is well established that fraud must be
distinctly alleged and as distinctly proved, and that if the facts pleaded are
consistent with innocence it is not open to the court to find fraud. An allegation
that the defendant ‘knew or ought to have known’ is not a clear and unequivocal
allegation of actual knowledge and will not support a finding of fraud even if the
court is satisfied that there was actual knowledge. An allegation that the
defendant had actual knowledge of the existence of a fraud perpetrated by others
and failed to disclose the fact to the victim is consistent with an inadvertent failure
to make disclosure and is not a charge of fraud. It will not support a finding of
fraud even if the court is satisfied that the failure to disclose was deliberate and
dishonest. Where it is expressly alleged that such failure was negligent and in
breach of a contractual obligation of disclosure, but not that it was deliberate and
dishonest, there is no room for treating it as an allegation of fraud.

(3) AMENDMENTS WHICH INTRODUCE A NEW CAUSE OF ACTION BUT IN RESPECT OF
WHICH THE PLAINTIFFS CONTEND THERE IS NO APPLICABLE LIMITATION PERIOD

Among the new causes of action which the plaintiffs seek leave to introduce
are (i) fraudulent breach of trust, and (ii) intentional breach of fiduciary duty.
They submit that no period of limitation applies to either cause of action. I shall
deal with the two claims separately. Before doing so, however, { should express
my opinion that the solution to the problem lies in the fact that the new claims
are based on the same factual allegations as the common law claims for fraud and
conspiracy to defraud. The equitable jurisdiction which the plaintiffs invoke is
thus the concurrent jurisdiction. The new claims are not different causes of
action (which is historically a common law concept) but merely the equitable
counterparts of the claims at common law.

Fraudulent breach of trust
Section 21 of the 1980 Act, so far as material, provides as follows:

‘Time limit for actions in respect of trust property (1) No period of limitation
prescribed by this Act shall apply to an action by a beneficiary under a trust,
being an action—(a) in respect of any fraud or fraudulent breach of trust to
which the trustee was a party or privy; or (b) to recover from the trustee trust
property or the proceeds of trust property in the possession of the trustee, or
previously received by the trustee and converted to his use ...

(3) Subject to the preceding provisions of this section, an action by a
beneficiary to recover trust property or in respect of any breach of trust, not
being an action for which a period of limitation is prescribed by any other
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provision of this Act, shall not be brought after the expiration of six years
from the date on which the right of action accrued.’

Section 38 provides that the expressions ‘trust’ and ‘trustee’ have the same
meanings respectively as in the Trustee Act 1925. ‘This extends the meaning of
those expressions to ‘implied and constructive trusts’: see s 68(17) of the 1925 Act.

By paras 106 to 108 of the statement of claim the plaintiffs allege that the p
defendants were guilty of a fraudulent breach of trust. The plaintiffs’ case is that
the defendants obtained the mortgage advance dishonestly by statements (in the
report on title) which they knew to be untrue and consequently held the money
on a constructive trust to return it to the plaintiffs immediately on receipt.
Payment of the money to or by the direction of the borrower on completion of
the sub-purchase instead of to the plaintiffs was a breach of this constructive trust. ¢
As counsel for the plaintiffs acknowledged, it was not a breach of the trust which
would have arisen in the ordinary way from the receipt of the advance money for
payment of the amount due on completion. That trust was discharged according
to its terms, but its existence assumes that the defendants acted honestly; on the
plaintiffs’ case it never came into being but was displaced ab initio by the d
constructive trust in their favour.

The plaintiffs submit that s 21(1)() of the 1980 Act taken with the extended
definition of the words ‘trust’ and ‘trustee’ has the effect of excluding the
application of any period of limitation to their claim for breach of this
constructive trust. They say that it is irrelevant that the trust in question had no
independent existence apart from the fraud but is rather equity’s response to the e
fraud. They submit that, if such a fact was ever relevant, it ceased to be so after
the passing of the 1939 Act. This makes it necessary to consider the antecedent
law and the effect of the 1939 Act.

Before 1890, when the Trustee Act 1888 came into operation, a claim against
an express trustee was never barred by lapse of time. The Court ofChancery had ¢
developed the rule that, in the absence of laches or acquiescence, such a trustee
was accountable without limit oftime. The rule was confirmed by s 25(3) of the
Supreme Court of Judicature Act 1873, which provided that no claim by a
cestui que trust against his trustee for any property held on an express trust, or in
respect of any breach of such trust, should be held to be barred by any statute of
limitation. g

The explanation for the rule was that the possession of an express trustee is
never in virtue of any right of his own but is taken from the first for and on behalf
of the beneficiaries. His possession was consequently treated as the possession of
the beneficiaries, with the result that time did not run in his favour against them:
see the classic judgment of Lord Redesdale in Hovenden v Lord Annesley (1806) h
2 Sch & Lef 607 at 633-634.

The rule did not depend upon the nature of the trustee’s appointment, and it
was applied to trustees de son tort and to directors and other fiduciaries who,
though not strictly trustees, were in an analogous position and who abused the
tmist and confidence reposed in them to obtain their principal's property for j
themselves. Such persons are properly described as constructive trustees.

Regrettably, however, the expressions ‘constructive trust’ and ‘constructive
trustee’ have been used by equity lawyers to describe two entirely different
situations. The first covers those cases already mentioned, where the defendant,

though not expressly appointed as trustee, has assumed the duties of a trustee by
a lawful transaction which was independent of and preceded the breach of trust
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and is not impeached by the plaintiff. The second covers those cases where the
trust obligation arises as a direct consequence of the unlawful transaction which
is impeached by the plaintiff.

A constructive trust arises by operation of law whenever the circumstances are
such that it would be unconscionable for the owner of property (usually but not
necessarily the legal estate) to assert his own beneficial interest in the property
and deny the beneficial interest of another. In the first class of case, however, the
constructive trustee really is a trustee. He does not receive the trust property in
his own right but by a transaction by which both parties intend to create a trust
from the outset and which is not impugned by the plaintiff. His possession of the
property is coloured from the first by the trust and confidence by means of which
he obrained it, and his subsequent appropriation of the property to his own use is
a breach of that trust. Well-known examples of such a constructive trust are
McCormick v Grogan (1869) LR 4 HL 82 (a case of a secret trust) and Rochefoucald v
Boustead [1897] 1 Ch 196 (where the defendant agreed to buy property for the
plaintiff but the trust was imperfectly recorded). Pallant v Morgan [1952]2 AIL ER
951, [1953] Ch 43 (where the defendant sought to keep for himself property which
the plaintiff trusted him to buy for both parties) is another. In these cases the
plaintiff does not impugn the transaction by which the defendant obtained
control of the property. He alleges that the circumstances in which the defendant
obtained control make it unconscionable for him thereafter to assert a beneficial
interest in the property.

The second class of case is different. It arises when the defendant is implicated
in a fraud. Equity has always given relief against fraud by making any person
sufficiently implicated in the fraud accountable in equity. In such a case he is
traditionally though | think unfortunately described as a constructive trustee and
said to be ‘liable to account as constructive trustee’. Such a person is not in fact
a trustee at all, even though he may be liable to account as ifhe were. He never
assumes the position of a trustee, and if he receives the trust property at all it is
adversely to the plaintiff by an unlawful transaction which is impugned by the
plaintiff. In such a case the expressions ‘constructive trust’ and ‘constructive
trustee’ are misleading, for there is no trust and usually no possibility of a
proprietary remedy; they are ‘nothing more than a formula for equitable relief’:
Selangor United Rubber Estates Lid v Cradock (No 3) [1968] 2 All ER 1073 at 1097,
[1968] 1 WLR 1555 at 1582 per Ungoed-Thomas J.

The constructive trust on which the plaintiffs seek to rely is of the second kind.
The defendants were fiduciaries, and held the plaintiffs’ money on a resulting
trust for them pending completion of the sub-purchase. But the plaintiffs cannot
establish and do not rely upon a breach of this trust. They allege that the money
which was obtained from them and which would otherwise have been subject to
it was obtained by fraud and they seek to raise a constructive trust in their own
favour in its place.

The importance of the distinction between the two categories of constructive
trust lies in the application of the statutes of limitation. Béfore 1890 constructive
- trusts of the first kind were treated in the same way as express trusts and were
often confusingly described as such; claims against the trustee were not barred by
the passage of time. Constructive trusts of the second kind however were treated
differently. They were not in reality trusts at all, but merely a remedial
mechanism by which equity gave relief for fraud. ‘The Court of Chancery, which
applied the statutes of limitation by analogy, was not misled by its own
terminology; it gave effect to the reality of the situation by applying the statute

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to the fraud which gave rise to the defendant's liability: see Soar v Ashwell [1893]
2 QB 390 at 393, [1891-4] All ER Rep 991 at 993 per Lord Esher MR:

‘If the breach of the legal relation relied on ... makes, in the view of a Court
of Equity, the defendant a trustee for the plaintiff, the Court of Equity treats
the defendant as a trustee ... by construction, and the trust is called a
constructive trust; and against the breach which by construction creates the b
trust the Court of Equity allows Statutes of Limitation to be vouched.’

Lord Esher MR’s reference to the breach of the legal relation shows that while the
first kind of constructive trust was a creature of equity's exclusive jurisdiction the
second arose in the exercise of its concurrent jurisdiction. That is why the statute
was applied by analogy. For a fuller discussion of the

distinction betweenthetwo ¢
categories of constructive trust, see Hovenden v Lord Annesley (1806) 2 Sch & Lef

607 at 632-633, Soar v Ashwell, Taylor v Davies [1920] AC 636, Clarkson v Davies
[1923] AC 100, Selangor United Rubber Estates Ltd v Cradock (No 3) and Competitive
Insurance Co Ltd v Davies Investments Ltd [1975] 3 All ER 254, [1975] 1 WLR 1240.

It was evidently considered unduly harsh that trustees should remain liable
indefinitely for innocent breaches of trust when even common law actions for
fraud were barred after six years, and s 8 of the 1888 Act introduced a period of
limitation (effectively six years) for such claims. Its purpose was to provide
protection for trustees who would otherwise be liable without limitation of time
(laches and acquiescence apart) where

the breach of trust was committed
innocently: see Re Richardson, Pole y Pattenden (1920] 1 Ch 423 at 440. It excepted @

two cases from its provisions: (i) where the claim was founded upon any fraud or
fraudulent breach of trust to which the trustee was party or privy, and (ii) where
the proceeds were still retained by the trustee or had previously been received by
the trustee and converted to his use. The same scheme was adopted by s 19 of
the 1939 Act and s 21 of the 1980 Act.
Section 1(3) of the 1888 Act defined ‘trustee’ as follows: ‘For the purposes of f

this Act the expression “trustee” shall be deemed to include an executor or
administrator and a trustee whose trust arises by construction or implication of
law as well as an express trustee .... Read literally and without regard to its
evident purpose the 1888 Act might be thought to have replaced the former
scheme in its entirety and to have abolished the distinction between the two g
categories of constructive trust. This, however, was not the case. In Taylor v
Davies the Privy Council sitting-on a Canadian appeal had to consider s 47 of the
(Ontario) Limitations Act 1914. The Canadian Act was closely modelled on the
1888 Act and contained a definition of ‘trustee’ in similar terms. The Privy
Council held that constructive trustees of the second kind were not within the
terms of the Act and could still rely on the statutes of limitation by analogy, as
otherwise a section which was passed for the relief of trustees would seriously

alter for the worse the position of constructive trustees. Viscount Cave said
({1920] AC 636 at 652-653):

‘It does not appear ... that the section has this effect. The expressions “trust j
property” and “retained by the trustee” properly apply, not to a case where
a person having taken possession of property on his own behalf, is liable to
be declared a trustee by the Court, but rather to a case where he originally
took possession upon trust for or on behalf of others. In other words, they
refer to cases where a trust arose before the occurrence of the transaction ...
The exception no doubt applies, not only to an express trustee named in the
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instrument of trust, but also to those persons who under the rules explained
in Soar v. Ashwell and other cases are to be treated as being in like position;
but in their Lordships’ opinion it does not apply to a mere constructive
trustee of the character described in the judgment of Sir William Grant [in
Beckford v Wade (1805) 17 Ves 87 at 97, 34 ER 34 at 38, ie a constructive trust
of the second kind].’

The Privy Council revisited the question in Clarkson v Davies. Unlike Taylor v
Davies this was a case of fraud. It was held that this was not a valid distinction.
Referring to Taylor v Davies the Privy Council stated([1923] AC 100 at 110-111:
‘it was there laid down that there is a distinction between a trust which arses
before the occurrence of the transaction impeached and cases which arise only by
reason of that transaction.”

The same conclusion was reached in Piwinski v Corporate Trustees of the Diocese
of Armidale (1977) 1 NSWLR 266 and Queensland Mines Ltd v Hudson (1976) ACLC
40-266. In each of those cases the New South Wales Supreme Court had to
consider the limitation provisions of the Trustee Act 1925 of New South Wales
which were also modelled on those of the 1888 Act.

Had the present case occurred before 1940, therefore, the defendants could
have pleaded a limitation defence to the claim based on constructive trust. The
question is whether the distinction berween the two kinds of constructive trust
survived the passing of the 1939 Act, s 19 of which was in the virtually the same
terms as $21 of the 1980 Act, and both of which adopted the definition of ‘trust’
and ‘trustee’ in 1925 Act.

The 1939 Act was enacted in response to the sth Interim Report (Statutes of
Limitation) (1936) (Cmd 5334) of the Law Revision Committee. This included a
recommendation in the following terms:

‘It is perhaps too late now to suggest that [the 1888 Act] was intended to do
away with the distinction between express and constructive trusts for the
purpose of the limitation of actions, though the definition of ‘trstee’ ins 1(3)
seems to point to that conclusion. At any rate we consider that the
distinction should now be abolished, and we recommend that the exception
in s8 of [the 1888 Act] should expressly be made to extend to trustees

whether holding on express or constructive trusts, including personal
representatives.’

In his book on Canadian law The Constructive Trust p 1020 Professor Donovan
Waters has written: ‘However, in England, without the benefit of later trust
developments, the Limitation Act was intended to bury this issue, and by almost
unanimous consent bury the issue it did.’

In a recent and so far unreported decision Barlow Clowes International Ltd v
Eurotrust International Ltd (31 March 1998) the court of appeal of the Isle of Man
(the Staff of Government Division of the High Court) considered the provisions

ofs 21 of the (Manx) Limitation Act 1984, which is in identical terms to s 21 of the
; 1980 Act. The plaintiffs alleged that the defendants had knowingly assisted in the
commission of a fraudulent breach of trust and were accordingly ‘liable to
account as constructive trustees’. The court held that on the facts pleaded the
trust arose before the occurrence of the transactions impeached (ie that the
constructive trust was of the first kind), with the result that present question did
not arise. But affirming the decision of the First Deemster reported at (1998/9) 2
OFLR 42 it also held that, (i) that the rule in Taylor v Davies £1920] AC 636 had no

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application to a person who knowingly assists in a fraudulent breach of a
pre-existing trust, and (ii) that the former distinction between the two categories
of constructive trust had been abrogated by the 1939 Act and therefore by the
Manx Act.

The first of these propositions is not relevant to anything which we have to
decide, since despite the flexibility of the concept of the constructive trustee it
cannot be stretched so far that it encompasses the borrowers in the cases before
us. The plaintiffs do not charge the defendants with ‘knowing assistance’. They
do not allege that the defendants are strangers who were implicated in a breach
of trust committed by trustees or others in a fiduciary position. They allege the
converse; that despite their fiduciary position the defendants allowed themselves
to be implicated in a fraud committed by others.

The second proposition is, however, of direct relevance to the present case.
The court of appeal held thar, by incorporating for the first time the definition of
‘trust’ and ‘trustee’ contained in s 68(17) of the 1925 Act, s 19 of the 1939 Act had
the effect of abrogating the former distinction between the two kinds of
constructive trust. In reaching this conclusion the court relied on the
recommendation of the Law Revision Committee and what the court described
as the preponderance of academic writing.

In my judgment there are formidable arguments in favour of the contrary
view, some based on textual analysis and others on policy considerations. They
include the following.

(1) If the 1939 Act was intended to abrogate the former distinction between
the two kinds of constructive trust, it is difficult to see how it achieved its object.
It can hardly have done so merely by adopting the definitions of ‘trust’ and
‘trustee’ in the Trustee Act 1925, since these are not materially different from
those in the 1888 Act. If anything the use of the definitions in the 1925 Act points
in the opposite direction, for that Act is concerned exclusively with the powers
and duties of trustees properly so called. it is not concerned with persons whose
trusteeship is merely a formula for giving restitutionary relief. Such persons have

no trust powers or duties; they cannot invest, sell or deal with the trust property;
they cannot retire or appoint new trustees, they have no trust property in their
possession or under their control, since they became accountable as constructive
trustees only by parting with the trust property. They are in reality neither
trustees nor fiduciaries, but merely wrongdoers.

(2) The Law Reform Committee was concerned with a different problem. By
a process of reasoning which, like the committee, I find difficult to understand,
the courts had applied the extended definition of ‘trustee’ to s 8 of the 1888 Act
but not to the exceptions, with the result that an executor could plead the statute
even though he retained the property. This anomaly was corrected by the new
definitions, which were materially different in relation to personal
representatives.

(3) The actual recommendation of the Law Reform Committee went wider
than the mischief to which it drew attention, and it is an open quesuon whether
Parliament intended to adopt the wider recommendation or merely to put an end
to the mischief. If it had intended the former, however, it is difficult to believe
that it would have chosen to do so by the means which it adopted. It would
surely have used language like that to be found in s 11 of the (New South Wales)
Limitation Act 1969.

(4) Asa matter of statutory construction the question turns on the meaning of
the opening words of s 21(1) of the 1980 Act (re-enacting in similar terms the

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opening words of s 19(1) of the 1939 Act). As Harpum noted in his influential
article “The stranger as constructive trustee’ (1986) 102 LOR 267 at 288, these arc
not apt to cover constructive trusts of the second kind. This is because they refer
to ‘... an action by a beneficiary under a trust ... to which the trustee ...’
As Harpum observed, these words would appear to be prima facie applicable
only to those whose trusteeship precedes the occurrence which is the subject of
p_ the claim against them and not those whose trusteeship arises only by reason of
that occurrence.

(5) One of the distinctions between express trusts and other trusts under the
former law was that express trusts were evidenced in writing and other trusts
were not. This distinction has clearly been abolished (probably by the 1888 Act)
and there is no occasion to regret its passing. In expressing the opinion that the
rule in Taylor v Davies was abolished by the 1939 Act, however, most
commentators have concentrated on the inappropriateness of distinguishing for
limitation purposes between trusts by reference to the modes of their creation.
This is not, however, the distinction between the two kinds of constructive trusts
which was drawn in that case. That was the distinction between an institutional
d trust and a remedial formula—between a trust and a catch-phrase. In my

opinion, those academic writers whose opinions were relied on by the Manx
court of appeal were not primarily concerned with the issue now under
consideration.

(6) Ifthe views of trust and restitution lawyers are also taken into account, the

e Opinions of academic writers are more tentative than the Manx court of appeal

allowed. The consultation paper on Limitation of Actions (Law Com Consultation

Paper No 151) issued by the Law. Commission deals with the problem (at 74-76)

in terms which do not support the view that the distinction between the two
kinds of constructive trust is plainly obsolete.

A ™ The Manx court of appeal appears to have misunderstood the relevance of
Shephard v Cartwright [1954] 3 All ER 649, [1955} AC 431. In that case the
defendants pleaded the 1939 Act. Viscount Simonds ([1954] 3 All ER 649 at 655,
[1955] AC 431 at 450) adopted the answer given by Denning LJ ((1953] 2 All ER
608, [1953] Ch 728). This was that if the father had taken the money on behalf of
his children, as he ought to have done, and had since converted it to his own usc,

9 then no period of limitation would run; but if he had taken the money
fraudulently and adversely to the children, the period of limitation would not
start to run until the children discovered the fraud. This was consistent only with
the survival of the old law. Denning LJ must have considered that the distinction
between the two kinds of constructive trustee was still relevant after the passing

h ofthe 1939 Act, or he would not have drawn the distinction he did.

(8) Although at first sight the distinction drawn in T aylor v Davies appears to be
merely chronological, it marks a real difference between trustecs (whether or not
expressly appointed as such) who commit a breach of trust (however created) and
persons who are not trustees at ail but who are described as trustees for the

j Purpose of enabling equitable relief to be granted against them. Actions founded
on tort are barred after six years, and there is no exception for actions founded on
fraud, though the start of the limitation period may be deferred in such cases.
There is no logical basis for distinguishing between an action for damages for fraud
at common law and the corresponding claim in equity for ‘an account as
constructive trustee’ founded on the same fraud. Section 21 of the 1980 Act can
sensibly be limited to wrongs cognisable by equity in the exercise of its exclusive

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jurisdiction. It makes no sense to extend it to the exercise of its concurrent
jurisdiction.

(9) Although the 1939 and 1980 Acts are perhaps not wholly consistent in this
respect, any principled system of limitation should be based on the cause of action
and not the remedy. There is a case for treating fraudulent breach of trust
differently from other frauds, but only if what is involved really is a breach of
trust. There is no case for distinguishing between an action for damages for fraud
at common law and its counterpart in equity based on the same facts merely
because equity employs the formula of constructive trust to justify the exercise of
the equitable jurisdiction.

(10) A principled system of limitation would also treat a claim against an
accessory as barred when the claim against the principal was barred and not
before. There is, therefore, a case for treating a claim against a person who has
assisted a trustee in committing a breach of trust as subject to the same limitation
regime as the claim against the trustee: see ] W Brunyate Limitation of Actions in
Equity (1932). But the borrowers, who obtained the money by deceit and were
the principal wrongdoers, were neither trustees nor fiduciaries. If guilty of fraud,
they can plead the statute. It would be extraordinary ifthe defendants were liable
in equity as accessories or co-conspirators without limit of time when the claim
against the principal wrongdoers was barred.

We do not have to decide this question, because it is sufficient that the plaintiffs
cannot show that the defendants have no reasonably arguable limitation defence.
In my judgment we should treat the defendants as having an arguable limitation
defence of which they should not be deprived by amendment.

But I would offer a more vigorous response. I question whether so many
different remedies should continue to be available for the same misapplication of
property. They make proceedings of the present kind unnecessarily complex.
But whatever the answer to this question, the present problem is a semantic one.
The defendants cannot sensibly be described as constructive trustees at all. The
expression is used in its remedial sense, though not in the sense in which it is used
in the United States and Canada, where it is the basis of a discretionary
proprietary remedy; in cases like the present a plaintiff is necessarily confined to
a personal remedy. Before the Supreme Court of Judicature Act 1873 the
expression was a catch-phrase which was employed by the Court of Chancery to

justify the exercise of equity’s concurrent jurisdiction in cases of fraud. 125 years
later it is surely time to discard it. If we cannot bring ourselves to discard it, at
least we can resolve not to take it literally.

Breach of fiduciary duty

In my judgment the application for leave to amend to plead breach of fiduciary
duty fails for a similar reason. It is clear from the authorities already cited that the
Court of Chancery drew the same distinction between those whose fiduciary
obligations preceded the acts complained of and those whose liabilicy in equity
was octasionéd by the acts of which complaint was made. In pleading breach of
fiduciary duty the plaintiffs concentrate on the information which the defendants
possessed but concealed from them rather than on the money, but the position is
essentially the same. On the plaintiffs’ case the defendants did not obtain the
information from the plaintiffs or by reason of their fiduciary relationship; they
obtained it from the borrowers and because of their complicity in the fraud. The
fraud was committed when the borrowers submitted their fictitious application
forms to the plaintiffs, and this must have been before the plaintiffs retained the
defendants as their solicitors. On the plaintiffs’ case the defendants did not take

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advantage of their fiduciary relationship to misappropriate moneys entrusted to
them: the borrowers obtained the money by fraud and procured it to be
channelled to them through the defendants’ client account. It would be absurd if
the borrowers were deprived of the protection of the Limitation Act 1980 because
of the route by which the money reached them; and equally absurd if they were
entitled to it and the defendants were not. The defendants’ fiduciary relationship
only came into being in the course of the fraud and was incidental to the means
by which the fraud was perpetrated. The plaintiffs’ case cannot sensibly be
described as based on breach of fiduciary duty. Their case is that they were
swindled.

Nelson v Rye

The plaintiffs, however, submit that a claim for an account in respect of a
breach of fiduciary duty is outside the scope of the 1980 Act and is accordingly not
subject to any period of limitation. For these propositions they rely on Nelson v
Rye [1996] 2 All ER 186, [1996] 1 WLR 1378. In my judgment that case is not in
point, but since the plaintiffs place great reliance on it I must explain why ! regard
it as irrelevant as well as wrongly decided.

In Nelson v Rye the plaintiff was a solo musician who appointed the defendant
his manager on terms that he would collect the fees and royalties which were due
to him and pay his expenses and account to him annually for his net income after
deducting his own commission. When the relationship came to an end the
plaintiff claimed an account, and the question was whether the account should be
limited to the six years before the issue of the writ or whether it should extend
over the whole period of the relationship. Actions for an account are dealt with
by s 23 of the 1980 Act. The time limit for such an action is dependent on the
nature of the claim which is the basis of the duty to account.

The judge recognised that the defendant’s obligation to account was
contractual and held that a claim to enforce the contractual right to an account
would have been barred after six years by ss 5 and 23 of the 1980 Act. But he held
that this was irrelevant because the plaintiff had chosen to sue for breach of
fiduciary duty and not for breach of contract. He observed that not all fiduciary
relationships give rise to constructive trusts, but held that this one did. After
stating that it was a fallacy to suppose that breach of fiduciary duty and breach of
constructive trust were different causes of action, he held that the defendant’s
failure to account was either a breach of fiduciary duty which fell outside the 1980
Act altogether or a breach of a constructive trust which fell within s 21(1)(b) of
the Act.

The law on this subject has been settled for more than a hundred years. An
action for an account brought by a principal against his agent is barred by the
statutes of limitation unless the agent is more than a mere agent but is a trustee
of the money which he received: see Burdick v Garrick (1870) LR 5 Ch App 233,
Knox v Gye (1872) LR 5 HL 656 and Re Sharpe, Re Bennett, Masonic and General Life
Assurance Co v Sharpe [1892] | Ch 154. A claim for an account in equity, absent
; any trust, has no equitable element, it is based on legal, not equitable rights: see
How v Earl Winterton [1896] 2 Ch 626 at 639 per Lindley LJ. Where the agent's
liability to account was contractual equity acted in obedience to the statute: see
Hovenden v Lord Annesley (1806) 2 Sch & Lef 607 at 631 per Lord Redesdale.
Where, as in Knox v Gye, there was no contractual relationship between the
parties, so that the liability was exclusively equitable, the court acted by analogy
with the statute. Its power to do so is implicitly preserved by s 36 of the 1980 Act
(re-enacting in simpler terms the tortuous provisions of s 2(2) and (7) which were
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subjected to critical analysis by Megarry V-C in Tito v Waddell (No 2), Tito v A-G
[1977] 3 AI ER 129 at 248-250, [1977] Ch 106 at 250-252).

Accordingly, the defendant's liability to account for more than six years before
the issue of the writ in Nelson v Rye depended on whether he was, not merely a
fiduciary (for every agent owes fiduciary duties to his principal), but a trustee,
that is to say, on whether he owed fiduciary duties in relation to the money.

Whether he was in fact a trustee of the money may be open to doubt. Unless

[have misunderstood the facts or they were very unusual it would appear that
the defendant was entitled to pay receipts into his own account, mix them with
his own money, use them for his own cash flow, deduct his own commission, and
account for the balance to the plaintiff only at the end of the year. It is
fundamental to the existence of a trust that the trustee is bound to keep the trust
property separate from his own and apply it exclusively for the benefit of his
beneficiary. Any right on the part of the defendant to mix the money which he
received with his own and use it for his own cash flow would be inconsistent with
the existence of a trust. So would a liability to account annually, for a trustee is
obliged to account to his beneficiary and pay over the trust property on demand.
The fact that the defendant was a fiduciary was irrelevant if he had no fiduciary
or trust obligations in regard to the money. If this was the position, then the
defendant was a fiduciary and subject to an equitable duty to account, but he was
not a constructive trustee. His liability arose from his failure to account, not from
his retention and use of the money for his own benefit, for this was something
which he was entitled to do.

Unless the defendant was a trustee of the money which he received, however,
the claim for an account was barred after six years. The fact that the defendant
was a fiduciary did not make his failure to account a breach of fiduciary duty or
make him liable to pay equitable compensation. His liability to account arose
from his receipt of money in circumstances which made him an accounting party.
It did not arise from any breach of duty, fiduciary or otherwise. The defendant
was merely an accounting party who had failed to render an account.

Accordingly, in so far as it decided that the defendant was liable to account
without limit of time even if the moncy was not trust money, Nelson v Rye was in
my opinion wrongly decided. But it is not in point in the present case. The
defendants were, of course, accounting parties in respect of the moneys advanced
by the plaintiffs; but unless and until the underlying transactions are set aside the
defendants have duly accounted for the money. They laid it out in accordance
with their instructions on completion of each of the transactions in question: see
Bristol and West Building Society v Mothew (t/a Stapley e Co) [1996] 4 All ER 698,
[1998] Ch 1. The plaintiffs do not claim an account on the ground that the receipt
of the money by the defendants made them accounting partics. They claim
equitable compensation for breach of fiduciary duty, and they seek all necessary
accounts to enable the compensation to be quantified. For the reasons I have

already given, such a claim could be met by a limitation defence before 1939 and
is at least arguably subject to such a defence today.

(4) AMENDMENTS WHICH INTRODUCE A NEW CAUSE OF ACTION IN RESPECT OF WHICH
THE PLAINTIFES CONTEND THAT AN EXTENDED LIMITATION PERIOD IS AVAILABLE

Section 32 of the 1980 Act provides as follows:

‘Postponement of limitation period in case of fraud, concealment or
mistake-—(1) Subject to [subsections (3) and (4A)] below, where in the case
of any action for which a period of limitation is prescribed by this Act,
either—(a) the action is based upon the fraud of the defendant ... the period

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of limitation shall not begin to run until the plaintiffhas discovered the fraud,
concealment or mistake (as the case may be) or could with reasonable
diligence have discovered it ...’

In the Thakerar case Chadwick J was not satisfied that the plaintiffs could not
with reasonable diligence have discovered the fraud before 4 June 1991, that
being six years before the date of the hearing of the application to amend. The
plaintiffs accept that this was a conclusion to which he was entitled to come on
the evidence before him, and do not appeal from this part of his decision. In the
Thimbleby case, however, Timothy Lloyd J found that the plaintiffs could not with
reasonable diligence have discovered the fraud before 25 March 1991, that being
the relevant date in that case, and the defendants appeal from his decision.

As early as 17 July 1990 the first plaintiffs had received an audit valuation which
expressed the opinion that a flat at Vogan’s Mill was worth £165,000, not the
ostensible purchase price of £270,000. An internal memorandum of these
plaintiffs in August 1990 was warning of prospective losses if advances were made
against valuations by the valuers concerned in the transactions in question. Two
of the transactions were completed after this. In December 1990 the police paid
a visit to the first plaintiffs and explained the modus operandi of the mortgage
frauds at Vogan’s Mill. Between December 1990 and January 1991 the plaintiffs
carried out a review of the transactions at Vogan’s Mill and elsewhere. As a
result, solicitors were instructed to investigate the bona fides of the borrowers,
and the defendants were placed on a referral list.

In February 1991 the first plaintiffs received the documents of title to two of
the flats. These showed an 82% uplift in the purchase price. By this time an
internal memorandum of the first plaintiffs indicates that they had cause for grave
suspicion of the bona fides and even of the existence of the borrowers. Ten of the
eleven cases currently in arrears (90%) were not on the electoral register. Nine
of the eleven (81%) had no existing mortgage. Most of them described
themselves as company directors or self-employed (so providing no references
from their employer) with annual incomes of £50,000 or more, yet eight of the
eleven (72%) had opted for non-MIRAS mortgages, indicating that they were not
taxpayers. The first plaintiffs were clearly alive to the likelihood of fraud on the
part of the borrowers, though possibly not of the defendants’ complicity.

The first plaintiffs concentrated in the first instance on bringing proceedings for
repossession. They also instructed solicitors to make preliminary investigations
into the bona fides of the borrowers. On 4 October 1991 they instructed their
present solicitors to investigate the involvement of the brokers, solicitors,
accountants and valuers in the case of 69 transactions. They obtained the files and
reviewed them. Within a week of instruction they made a preliminary report.
This has not been disclosed, but the writ was issued on 3 November 1994. It did
not allege fraud, but it is far from clear that it could not have done so.

The first plaintiffs have deposed that while they may have been alerted much
earlicr to the fraudulent nature of the mortgage applications, they did not in fact
- discover that the defendants were implicated in the fraud until they obtained the
; completion documents in the course of discovery in the action. These showed
that while the whole of the mortgage advance was paid to or to the direction of
the sub-vendor, the balance of the purchase price ostensibly payable by the
borrower was never received by the defendants from their clients as one would
normally expect. This suggests that they were either aware that it was not paid
at all or dishonestly shut their eyes to the possibility that this was the case. The
question is whether the first plaintiffs could not with reasonable diligence have
discovered these facts much earlier.

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The second plaintiffs have filed no evidence on this question at all. Itis difficult

to see how they can have discharged the burden of showing that they come
within the section. ,

The first plaintiffs submit that they acted reasonably throughout. They cannot
be criticised for their decision to concentrate on the repossession actions in the
first instance, nor for their delay in instructing their present solicitors until
October 1991. There was no need for urgency; they had almost six years in which pb
to bring proceedings.

In my judgment this reasoning is misconceived. The question is not whether
the plaintiffs should have discovered the fraud sooner; but whether they could
with reasonable diligence have done so. The burden of proof is on them. They
must establish that they could not have discovered the fraud without exceptional
measures which they could not reasonably have been expected to take. In this
context the length of the applicable period of limitation is irrelevant. In the
course of argument May LJ observed that reasonable diligence must be measured
against some standard, but that the six-year limitation period did not provide the
relevant standard. He suggested that the test was how a person carrying on a

business of the relevant kind would act if he had adequate but not unlimited staff q
and resources and were motivated by a reasonable but not excessive sense of
urgency. | respectfully agree.

As Chadwick J observed in the Thakerar case, it is not easy to believe that a
solicitor acting for the borrower in this kind of mortgage fraud can be ignorant of
the fraudulent nature of the mortgage application. It is very difficult to believe
when he has acted for several such borrowers. In my judgment Timothy Lloyd J
should not have been satisfied on the material before him, in summary
proceedings in the absence of discovery and without the benefit of
cross-examination, that the plaintiffs could not with reasonable diligence have
discovered the fraud before the relevant date. This is not to say that he should
have reached a concluded view. He should have refused leave to amend andleft +
all to play for in fresh proceedings.

(5) AMENDMENTS WHICH INTRODUCE ANEW CAUSE OF ACTION AFTER THE EXPIRY OF
THE LIMITATION PERIOD BUT WHICH THE PLAINTIFES CONTEND ARISES OUT OF THE
SAME OR SUBSTANTIALLY THE SAME FACTS AS A CAUSE OF ACTION ALREADY PLEADED

Whether one cause of action arises out of the same or substantially the same g
facts as another was held by this court in Welsh Development Agency v Redpath
Dorman Long Ltd {1994] 4 AILER 10, [1994] 1 WLR 1409 to be essentially a matter
of impression. In borderline cases this may be so. In others it must be a question
of analysis. In the Thakerar case Chadwick J observed that it would be ‘contrary
to common sense’ to hold that a claim based on allegations of negligence and
incompetence on the part of a solicitor involved substantially the same facts as a
claim based on allegations of fraud and dishonesty. I respectfully agree. In all our
jurisprudence there is no sharper dividing line than that which separates cases of
fraud and dishonesty from cases of negligence and incompetence.

CONCLUSION

Save to the limited extent already described I would refuse the plaintiffs leave
to amend. In particular, | would refuse them leave to introduce by amendment
any allegations of fraud, dishonesty, fraudulent breach of trust or breach of
fiduciary duty. ;

The orders for discovery made by Timothy Lloyd J were consequent on the
grant of leave to amend. Chadwick J, having refused leave to amend, refused to
order further discovery. The plaintiffs submit this result need not follow.
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The question has not been fully argued, and I would refuse discovery but without
prejudice to the plaintiffs’ right to renew their applications on the basis of the
pleadings as they will stand after effect is given to this judgment.

Save to the limited extent already mentioned the appeal in Thimbleby will be
allowed and that in Thakerar will be dismissed.

PILL LJ. ] agree and in deference to the submissions of counsel add something
upon issue (5) identified by Millett LJ.

Section 35(4) of the Limitation Act 1980 provides: ‘Rules of court may provide
for allowing a new claim ... to be made ... but only if the conditions specified in
subsection (5) below are satisfied, and subject to any further restrictions the rules
may impose.’ Subsection (5) provides:

“The conditions referred to in subsection (4) above are the following-—
(a) in the case of a claim involving a new cause of action, if the new cause of
action arises out of the same facts or substantially the same facts as are
already in issue on any claim previously made in the original action.’

RSC Ord 20, r 5 provides, so far as is material:

‘(1) Subject to ... the following provisions of this rule, the Court may at
any stage of the proceedings allow the plaintiff to amend his writ, or any
party to amend his pleading, on such terms as to costs or otherwise as may
be just and in such manner (if any) as it may direct.

(2) Where an application to the Court for leave to make the amendment
mentioned in paragraph ... (5) is made after any relevant period of limitation
current at the date of issue of the writ has expired, the Court may
nevertheless grant such leave in the circumstances mentioned in that
paragraph if it thinks it just to do so ...

(5) An amendment may be allowed under paragraph (2) notwithstanding
that the effect of the amendment will be to add or substitute a new cause of
action if the new cause of action arises out of the same facts or substantially
the same facts as a cause of action in respect of which relief has already been

claimed in the action by the party applying for leave to make the
amendment.’

While discretions exist in the application of Ord 20, x 5, they can be exercised
only if the ‘overriding condition’ in $35(5)(a) is satisfied (Balfour Beatty
Construction Ltd v Parsons Brown ¢ Newton Ltd (1990) 7 Const LJ 205 at 212 per
Nourse LJ). I agree with the view of Millett LJ, expressed when considering
issue (2), that an amendment to make a new allegation of intentional wrongdoing
by pleading fraud, conspiracy to defraud, fraudulent breach of trust or intentional
breach of fiduciary duty where previously no intentional wrongdoing had been
alleged constitutes the introduction of a new cause of action.

The power conferred by s 35(4) of the 1980 Act could now be exercised in a
situation such as that in Sterman v E W e J W Moore Ltd (a firm) [1970] 1 AI ER
581, [1970] 1 QB 596. Lord Denning MR stated ((1970] 1 All ER 581 at 585, [1970]
1 QB 596 at 604):

‘| think we should give full effect to the wide words of RSC Ord 20, r 5(3).
We should not cut them down by reference to r 5(2), (3), and (4). ladhere to
the view I expressed in Chatsworth Investments Ltd v Cussins (Contractors) Ltd
{1969} 1 All ER 143 at 145, [1969] } WLR 1 at 5: “Since the new rule, | think
we should discard the strict rule of practice in Weldon v Neal (1887) 19 QBD
394. The courts should give Ord. 20, r. 5(1) its full width. They should allow

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an amendment whenever it is just so to do, even though it may deprive the
defendant of a defence under the Statute of Limitations.” | withdraw not one
whit of those words: and I think we should apply them here. Here was a
plaintiff who issued his writ and served it on the defendants well within the
period of limitation. They knew perfectly well that the plaintiff was claiming
damages for his fall from the trestle because it was their fault. Yet they seek

to bar him on the most technical consideration—just because he omitted the
words “for negligence and breach of statutory duty”. I do not think we
should allow this technical objection to prevail. We should apply the wise
words of Holroyd Pearce LJ in Pontin v Wood [1962] 1 All ER 294 at 297,
[1962] 1 QB 594 at 609 when he said that the court would give its aid—“to
regularising the procedure of a known genuine case commenced before the
time limit expired but containing technical defects”. Applying those words, ©
we should allow the plaintiff to amend the writ so as to state in terms that his
claim is for damages “for negligence and breach of statutory duty”. see no
harm in adding the further claim for damages for “breach of agreement”.’

Where it is sought to add allegations of wrongdoing which is intentional, the
position is in my judgment different. The ‘change cannot be categorised as a d
technicality. I accept the submission made on behalf of the plaintiffs that the
critical question is the extent to which the facts on which the new cause of action
is based depart from those already pleaded (and not the seriousness of the new
allegation). However, to allege that an injury is caused intentionally is to add a
new allegation of fact which gives the allegations of fact as a whole a substantially
different character. In Letang v Cooper [1964] 2 All ER 929, [1965] 1 QB 232, this
court recognised the division in actions for personal injuries ‘according as the
defendant did the injury intentionally or unintentionally’ (Lord Denning MR
(with whom Danckwerts LJ agreed) [1964] 2 All ER 929 at 932, [1965] } QB 232 at
239). Moreover as Bowen LJ stated in Edgington v Fitzmaurice (1885) 29 Ch D 459
at 483, [1831-5] All ER Rep 856 at 861, ‘the state of a man’s mind is as mucha fact f
as the state of his digestion ... it is as much a fact as anything else’. The addition

of allegations of intentional wrongdoing take these cases beyond the power
conferred by s 35(4) because the claims do not arise ‘out of the same facts or
substantially the same facts’.

Upon the section as enacted, the reasoning is in a sense self-justifying because
it is the allegation of intentional wrongdoing which makes the cause of action
new for the purposes of s 35(5)(a) and it is the allegation of intentional
wrongdoing which also prevents the claim arising out of the same or substantially
the same facts for the purposes of the section. Upon analysis, however,
reinforced by the common sense referred to by Chadwick J, the power in s 35 (4)
cannot be exercised in the plaintiffs’ favour in these cases. h

MAY LJ. | also agree.

Appeal in Thakerar dismissed; appeal in Thimbleby allowed.
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Dilys Tausz Barrister.
